      2:16-cv-00655-BHH          Date Filed 03/01/16      Entry Number 1      Page 1 of 10




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA

                                   CHARLESTON DIVISION

AKILIOU SMITH,                      )                 C/A No.: 2:16-cv-655-PMD-BM
                                    )
                    Plaintiff,      )
v.                                  )                             COMPLAINT
                                    )                         (Jury Trial Demanded)
CHARLESTON COUNTY;                  )
THE CHARLESTON COUNTY               )
SHERIFF’S OFFICE; and               )
JAMES L. JACKO and DONALD           )
STANLEY in their respective         )
INDIVIDUAL capacities,              )
                                    )
                    Defendants.     )
___________________________________ )

       Plaintiff Akiliou Smith, by and through his undersigned counsel, complaining of

Charleston County; the Charleston County Sheriff’s Office; and James L. Jacko and Donald

Stanley in their respective individual capacities, alleges as follows:

                                 JURISDICTION AND VENUE

       1.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1343(a)(3) & (4) and personal jurisdiction over the parties.

       2.      Plaintiff is a citizen and resident of Charleston County in the state of South

Carolina.

       3.      Upon information and belief, each Defendant is a citizen and resident of Charleston

County, South Carolina.

       4.      All of the acts giving rise to the causes of action in this Complaint occurred in

Charleston County, South Carolina.

       5.      Venue is proper under 28 U.S.C. § 1391(b).
      2:16-cv-00655-BHH         Date Filed 03/01/16       Entry Number 1        Page 2 of 10




                                  FACTUAL BACKGROUND

       6.      Upon information and belief, Charleston County is a duly authorized county created

pursuant to the laws of the State of South Carolina. At all times relevant hereto, Charleston

County, its agents, servants and employees operated, maintained and controlled the Charleston

County Sheriff’s Office, including all sheriff’s deputies and employees thereof. Upon information

and belief, Charleston County is responsible for the policies, practices and customs of the

Charleston County Sheriff’s Office as well as hiring, training, supervising, and controlling and

disciplining its deputies and other employees.

       7.      Upon information and belief, the Charleston County Sheriff’s Office is a political

subdivision of Charleston County and is a county entity organized and created pursuant to the laws

of the State of South Carolina. Along with Charleston County, the Charleston County Sheriff’s

Office is responsible for the policies, practices and customs of the Charleston County Sheriff’s

Office as well as the hiring, training, supervising, controlling and disciplining of its deputies and

other employees.

       8.      At the various times giving rise to the causes of action set forth in this Complaint,

upon information and belief, James L. Jacko was employed by the Charleston County Sheriff’s

Office and on duty, acting individually and under the color of state law.

       9.      At the various times giving rise to the causes of action set forth in this Complaint,

upon information and belief, Donald Stanley was employed by the Charleston County Sheriff’s

Office and on duty, acting individually and under the color of state law.

       10.     Furthermore, at all times relevant hereto James L. Jacko and Donald Stanley were

commissioned law enforcement officers elected or appointed to serve all people in Charleston

County regardless of race, gender, religious affiliation or socioeconomic status. James L. Jacko



                                                 2
      2:16-cv-00655-BHH        Date Filed 03/01/16      Entry Number 1       Page 3 of 10




and Donald Stanley further knew or should have known Plaintiff enjoyed constitutional rights to

be free from unnecessary government interference, intrusion, and force that belonged to him

regardless of his race.

       11.     Plaintiff is informed and believes that prior to December 07, 2015, James L. Jacko

and Donald Stanley had been trained and certified by the South Carolina Law Enforcement

Division in the proper use of a handgun. James L. Jacko and Donald Stanley were authorized in

each officer’s capacity as a commissioned law enforcement officer to carry a firearm.

       12.     On December 07, 2015, James L. Jacko and Donald Stanley were in fact carrying

department issued firearms.

       13.     Plaintiff is further informed and believes that prior to December 07, 2015, each

Defendant had undergone basic law enforcement training at the South Carolina Criminal Justice

Academy pursuant to S.C. Code Sec. 17-5-130 and had undergone 16 hours of annual training by

the South Carolina Law Enforcement Training Council for each subsequent year.

       14.     Upon information and belief, on December 07, 2015, James L. Jacko and Donald

Stanley responded to a call regarding a suspicious person and suspected burglary on Kano Street,

Johns Island, South Carolina. The caller, the homeowner, came home to find an unknown

individual in her home. The individual identified himself as Shawn Freeman and indicated that he

knew the homeowner’s daughter. The individual left the home on foot upon request by the

homeowner.

       15.     At approximately 8:33 P.M., the homeowner provided Charleston County 9-1-1

dispatch with a description of the individual in addition to his name. She described the person as

a black male, wearing a jean jacket and jean pants, between twenty-five (25) and thirty (30) years




                                                3
      2:16-cv-00655-BHH          Date Filed 03/01/16      Entry Number 1         Page 4 of 10




of age, five-feet five-inches (5’ 5”) tall, weighing approximately 150 pounds, with a short “afro”

hair cut approximately two inches tall, and a possible little beard.

       16.     Upon information and belief, multiple Charleston County Sheriff’s Office Deputies

arrived at Kano Street at approximately 9:01 P.M.

       17.     While standing near his porch in his front yard, at approximately 10:09 P.M.,

Plaintiff was approached by an unknown person with a dog shining a flashlight at him and calling

to him. Plaintiff retreated to the safety of his home and locked his door. The unknown individual

did not identify himself as a law enforcement officer or state his purpose.

       18.     Out of concern for his safety, after Plaintiff retreated to the safety of his home where

he called 9-1-1 to report the suspicious person that approached him in his yard. Plaintiff recounted

the events to the 9-1-1 operator.

       19.     While still on the phone with 9-1-1 dispatch, Defendants James L. Jacko and

Donald Stanley kicked in Plaintiff’s door and forced entry to his home.

       20.     Plaintiff did not provide any oral or written consent to entry into his home.

       21.     Neither James L. Jacko nor Donald Stanley possessed a search warrant for the

search or entry into Plaintiff’s home.

       22.     Plaintiff is not named Shawn Freeman.

       23.     Plaintiff does not match the physical description of the suspect provided by the

Ghana Street homeowner. Plaintiff is five-feet seven-inches tall and weighs approximately 275

pounds. The only similarity between the Plaintiff and suspect is they are African-American males.

       24.     Plaintiff was not wearing similar clothing to the clothing described by the Ghana

Street homeowner. Plaintiff was attired in his work uniform, which consists of khaki-colored




                                                  4
      2:16-cv-00655-BHH          Date Filed 03/01/16      Entry Number 1        Page 5 of 10




cargo pants and a green-colored work jacket with the company name and logo prominently

displayed.

          25.   After Defendants James L. Jacko and Donald Stanley forced entry into Plaintiff’s

home, they immediately placed him in handcuffs, knocking the phone out of his hands and onto

the floor. Plaintiff was seized by Defendants through the threat of deadly force and while

displaying Defendants’ department-issued firearms. Plaintiff suffered these violations of his civil

rights in the presence of his minor daughters, his wife, and his parents-in-law.

          26.   Defendants then removed Plaintiff from inside his home and placed him outside

where they attempted to perform a “show-up” identification. However, the Ghana homeowner

told deputies from the Charleston County Sheriff’s Office that Plaintiff was not the suspect.

          27.   Defendants did not have any reasonable basis to seize Plaintiff.

          28.   Defendants did not have any reasonable basis to search Plaintiff or his home.

        COUNTS ONE AND TWO- DEPRIVATION OF PLAINTIFF’S FOURTH
         AMENDMENT RIGHTS ACTIONABLE UNDER 42 U.S. CODE § 1983
    (As to Defendants James L. Jacko and Donald Stanley in their respective individual
                                       capacities)

          29.   Plaintiff reincorporates and realleges all preceding paragraphs as if fully set forth

herein.

          30.   Defendants Jacko and Stanley at all times relevant to this Complaint acted under

color of state law and exercised power possessed by virtue of state law as commissioned law

enforcement officers.

          31.   Defendants’ conduct as more fully set forth above deprived Plaintiff of his rights,

privileges, or immunities secured by the Fourth Amendment to the Constitution of the United

States.




                                                  5
      2:16-cv-00655-BHH          Date Filed 03/01/16      Entry Number 1        Page 6 of 10




          32.   Particularly, Defendants Jacko and Stanley’s conduct deprived Plaintiff of his

rights protected by the Fourth Amendment of the Constitution of the United States, guaranteeing

citizens the right “to be secure in their persons…against unreasonable…seizures” of the person

and their right to be free from unnecessary governmental interference.

          33.   Defendants conducted an unlawful and unreasonable stop and furthermore used

excessive force during the unconstitutional seizure of Plaintiff.

          34.   Defendants’ actions were not objectively reasonable in light of the facts and

circumstances, and Defendants conducted an unreasonable stop and seizure of Plaintiff.

          35.   As a direct and proximate result of Defendants’ unreasonable seizure of Plaintiff

and use of excessive force, Plaintiff has suffered and continues to suffer tremendous and

irreparable emotional and mental harm and is entitled to nominal, actual, and punitive damages.

COUNT THREE- DEPRIVATION OF PLAINTIFF’S FOURTH AMENDMENT RIGHTS
                    ACTIONABLE UNDER 42 U.S. CODE § 1983
  (As to Defendants James L. Jacko and Donald Stanley in their respective individual
                                     capacities)

          36.   Plaintiff reincorporates and realleges all preceding paragraphs as if fully set forth

herein.

          37.   Defendants Jacko and Stanley at all times relevant to this Complaint acted under

color of state law and exercised power possessed by virtue of state law as commissioned law

enforcement officers.

          38.   Defendants’ conduct as more fully set forth above deprived Plaintiff of his rights,

privileges, or immunities secured by the Fourth Amendment to the Constitution of the United

States.




                                                  6
      2:16-cv-00655-BHH          Date Filed 03/01/16      Entry Number 1        Page 7 of 10




          39.   Particularly, Defendants Jacko and Stanley’s conduct deprived Plaintiff of his

rights protected by the Fourth Amendment of the Constitution of the United States, guaranteeing

citizens the right “to be secure in their houses…against unreasonable…searches.”

          40.   Defendants conducted an unlawful and unreasonable search of Plaintiff’s home

wherein Defendants, without a warrant, consent, or any exigency, kicked in Plaintiff’s door and

entered the sanctity of his home.

          41.   Defendants’ actions were objectively unreasonable in light of the facts and

circumstances, and Defendants conducted an unreasonable search of Plaintiff’s home.

          42.   As a direct and proximate result of Defendants’ unreasonable search of Plaintiff’s

home, Plaintiff has suffered and continues to suffer tremendous and irreparable emotional and

mental harm and is entitled to nominal, actual, and punitive damages.

                          COUNT FOUR- FALSE IMPRISONMENT
                                 (As to All Defendants)

          43.   Plaintiff reincorporates and realleges all preceding paragraphs as if fully set forth

herein.

          44.   Defendant Jacko and Defendant Stanley’s conduct of kicking in Plaintiff’s door,

handcuffing him at gunpoint, and forcibly removing him from his home deprived Plaintiff of his

liberty without justification. Defendant Jacko and Defendant Stanley were acting within the scope

of employment with Defendant Charleston County Sheriff’s Office.

          45.   Defendant Jacko and Defendant Stanley intentionally restrained Plaintiff.

          46.   There was no lawful basis for Defendant Jacko and Defendant Stanley’s restraint

and imprisonment of Plaintiff.




                                                  7
      2:16-cv-00655-BHH          Date Filed 03/01/16      Entry Number 1        Page 8 of 10




          47.   As a direct and proximate result of Defendant Jacko and Defendant Stanley’s false

imprisonment of Plaintiff, Plaintiff has suffered and continues to suffer tremendous and irreparable

emotional and mental harm and is entitled to actual and punitive damages.

                          COUNT FIVE – INVASION OF PRIVACY
                                 (As to All Defendants)

          48.   Plaintiff reincorporates and realleges all preceding paragraphs as if fully set forth

herein.

          49.   All actions taken by Defendant Jacko and Defendant Stanley were intentional and

performed within the scope of their employment with Defendant Charleston County Sheriff’s

Office.

          50.   Defendant Jacko and Defendant Stanley intentionally kicked Plaintiff’s door in and

intentionally forced entry into Plaintiff’s home during the nighttime hours.

          51.   The forced entry into Plaintiff’s home was a substantial and unreasonable invasion

of Plaintiff’s privacy.

          52.   As a direct and proximate result of Defendant Defendant Jacko and Defendant

Stanley’s Invasion of Privacy of Plaintiff, Plaintiff has suffered and continues to suffer tremendous

and irreparable emotional and mental harm and is entitled to actual and punitive damages.

                                   COUNT SIX – TRESPASS
                                    (As to All Defendants)

          53.   Plaintiff reincorporates and realleges all preceding paragraphs as if fully set forth

herein.

          54.   Defendant Jacko and Defendant Stanley intentionally entered onto the land of

Plaintiff and forced entry into his home. Defendants interfered with Plaintiff’s right to possession

of his property.



                                                  8
      2:16-cv-00655-BHH           Date Filed 03/01/16       Entry Number 1      Page 9 of 10




          55.   Defendants’ forced entry into Plaintiff’s home and onto Plaintiff’s land was a

reckless, willful, and wanton disregard for Plaintiff’s rights.

          56.   As a direct and proximate result of Defendants’ Trespass, Plaintiff has suffered and

continues to suffer damages to be shown at trial. Plaintiff specifically pleads for punitive damages

due to the reckless, willful, and wanton nature of Defendants’ actions.

                                COUNT SEVEN – NEGLIGENCE
                                    (As to All Defendants)

          57.   Plaintiff reincorporates and realleges all preceding paragraphs as if fully set forth

herein.

          58.   At all times relevant to this action, Defendant Sheriff’s Deputies were employees,

agents, and legal representatives of the Charleston County Sheriff’s Office and were acting within

the scope of employment and under color of law.

          59.   Defendant Charleston County Sheriff’s Office is responsible for the actions of

Defendant Sheriff’s Deputies on December 07, 2015.

          60.   Plaintiff at all times pertinent hereto was acting in a reasonable and prudent manner

and was within his legal rights, on his property, and had not violated any law.

          61.   At all times relevant hereto, Defendants owed Plaintiff the duty of care and caution

that any reasonable person would have used under the circumstances then and there prevailing and

a duty of care to avoid violating the rights of the Plaintiff.

          62.   Defendants breached such duties and the injuries and harm to Plaintiff were the

direct, foreseeable, and proximate cause of the negligent and careless, and willful, wanton, and

reckless, and grossly negligent acts/ omissions of Defendants as described herein above.




                                                   9
     2:16-cv-00655-BHH          Date Filed 03/01/16      Entry Number 1        Page 10 of 10




       63.     Due to the willful, wanton, reckless, grossly negligent, and negligent acts of

Defendants, Plaintiff is entitled to recover actual, nominal, and punitive damages in amounts to be

determined by a jury.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for a trial by jury on all issues presently raised or that

 may be raised in any of the pleadings hereafter and further seeks:

               i.    Judgment against Defendant for actual, special and punitive damages in the

                     amount to be determined by the jury;

               ii.   To award Plaintiff reasonable attorney fees, costs, and expenses against

                     Defendant, pursuant to 42 U.S.C. § 1988 and all other applicable law; and

              iii.   For all other and further relief as the Court and jury deem just and proper.



Respectfully submitted,


                                                      McLEOD LAW GROUP, LLC
                                                      Post Office Box 21624
                                                      Charleston, South Carolina 29413
                                                      (843) 277-6655

                                                      /s/ W. Mullins McLeod, Jr.

                                                      W. Mullins McLeod, Jr., No. 7142
                                                      Jacqueline LaPan Edgerton, No. 11710
                                                      D. Ellis Roberts, No. 11467
                                                      Michael Thomas Cooper, No. 12198


March 1, 2016
Charleston, South Carolina




                                                 10
